
Pennington, J.
— The action helow was an action on the case, brought by Newman against Fleming, stating in substance, that Fleming had put to Newman a pair of steers to work for four years, but had afterwards sold the steers out of the custody of Newman (as he states it.) At the close of this state of demand is added, “and for attendance to settle the same.” The first objection in this case is, that here is matter of debt and matter sounding in damage, joined together; that distinct causes of action are joined in one. It appears to me that this is too nice a distinction, it all arises from one injury. The second objection is not supported in fact. The third objection is, that a special action on the casej'is not a proper remedy for the injury complained of. I am of opinion that if any action can be maintained on this state of demand, it is an action on the case. The only doubt with me is, whether or not the state of demand sets out with sufficient certainty a cause of action at all; but as this does not seem to be brought in question, I am for affirming the judgment.
Kikkpatkick, C. J. and Rosseet,, J. — Were decidedly in favor of affirmance.
Judgment affirmed,
